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                                     EXHIBIT A

                                   Proposed Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    AMERIFIRST FINANCIAL, INC. et al.,1                      Case No. 23-11240 (TMH)

                             Debtors.                        (Jointly Administered)

                                                             Re: Docket No. ___

                ORDER GRANTING MOTION OF RCP CREDIT OPPORTUNITIES
               FUND LOAN SPV (FUND III), L.P. AND RCP CUSTOMIZED CREDIT
                FUND (FUND IV-A), L.P. TO FILE AND SERVE A LATE REPLY IN
                      FURTHER SUPPORT OF DEBTORS’ DIP MOTION

             Upon consideration of the Motion for Leave,2 for entry of an order, pursuant to Local Rule

9006-1(d), authorizing RCP to file and serve the DIP Reply in support of the DIP Motion; and the

Court having jurisdiction to consider the Motion for Leave and the relief requested therein pursuant

to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and consideration of

the Motion for Leave and the requested relief being a core proceeding pursuant to 28 U.S.C. §§

1408 and 1409; and due and proper notice of the Motion for Leave having been provided; and such

notice having been adequate and appropriate under the circumstances, and it appearing that no

other or further notice need be provided; and the Court having reviewed the Motion for Leave; and

the Court having determined that the legal and factual bases set forth in the Motion for Leave




1
  The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040 LLC
(2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite 117,
Mesa, AZ 85203.
2
  Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
in the Motion for Leave.



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establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.          The Motion for Leave is GRANTED.

        2.          RCP is granted leave and permission to file and serve the DIP Reply.

        3.          RCP is authorized to take all reasonable actions necessary or appropriate to

effectuate the relief granted in this Order.

        4.          The Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.




                                                      2
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